        Case 5:22-cv-00080-DAE Document 12-2 Filed 06/16/22 Page 1 of 1




                       UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                           SAN ANTONIO DIVISION

Jennifer Gillis and Tory Gillis,        §
Individually and on behalf of the       §
Estate of J.G., a minor,                §
                                        §
      Plaintiffs,                       §
                                        §
v.                                      §
                                        §         Case 5:22-cv-00080-DAE
Community Products, LLC d/b/a Rifton    §
Equipment, Church Communities NY Inc., §
North East Independent School District, §
and Medical Wholesale, LLC,             §
                                        §
      Defendants.                       §


                                    PROPOSED ORDER

       The Court has considered Plaintiffs’ Unopposed Motion to Extend the Deadline to

Respond to Defendant Church Communities NY, Inc.’s Motion to Dismiss so Plaintiff’s May

Conduct Jurisdictional Discovery, all responsive briefing, and/or the arguments of counsel and

finds that Plaintiffs’ motion is meritorious and should therefore be GRANTED.

       It is ORDERED that Plaintiffs’ deadline to respond to Defendant Church Communities

NY, Inc.’s Motion to Dismiss shall be extended to September 23, 2022.


       SIGNED on this _____ day of _______________________, 2022



                                                   __________________________________
                                                   DAVID A. EZRA
                                                   SENIOR U.S. DISTRICT JUDGE
